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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

                                                  CRIMINAL No. 24-CR-10364
        v.

 TANIA FERNANDES-ANDERSON,



         Defendant


                              JOINT INITIAL STATUS REPORT

       Pursuant to Local Rule 116.5(a), the parties state as follows.

       (1) Status of Automatic Discovery and Pending Discovery Requests

       The government produced automatic discovery on January 3, 2025. The government

anticipates producing further discovery on or about January 31, 2025. There are no pending

discovery requests at this time.

       (2) Timing of Any Additional Discovery to Be Produced

       The government will produce further discovery on or about January 31, 2025. Should the

government obtain additional Rule 16 discovery, the government will provide it to the defendant

pursuant to the Local and Federal Rules, and its discovery obligations, otherwise.

       (3) Timing of Any Additional Discovery Requests

       The defendant has not made any additional discovery requests.

       (4) Protective Orders

       There is a protective order governing discovery in this case. See Docket No. 24.
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       (5) Pretrial Motions Under Fed. R. Crim. P. 12(b)

       The defendant is reviewing discovery materials and evaluating the merits of any motions

under Fed. R. Crim. P. 12(b).

       (6) Timing of Expert Disclosures

       Should expert testimony prove necessary, the government agrees to make the requisite

expert witness disclosures 45 days before trial; and the defendant agrees to make reciprocal

disclosures 21 days before trial.

       (7) Speedy Trial Act Calculation

       The parties ask the Court to exclude the period from January 29, 2025 and the date of the

interim status conference under 18 U.S.C. § 3161(h)(7) as the government will produce further

discovery and the defendant will use the excluded time to review discovery.

       (8) Timing of Interim Status Conference

       The parties request that the Court convene an interim status conference in approximately

60 days or at a date thereafter that is convenient for the Court. The parties respectfully request

that the Court cancel the status conference scheduled for January 29, 2025 as there are no matters

needing the Court’s attention at this time.

       Date: January 22, 2025

                                                      LEAH B. FOLEY
                                                      United States Attorney

                                                      /s/ John T. Mulcahy
                                                      Dustin Chao
                                                      John T. Mulcahy
                                                      Assistant U.S. Attorneys




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicated as non-registered participants.



                                                      /s/ John T. Mulcahy
                                                      John T. Mulcahy
                                                      Assistant U.S. Attorney

Date: January 22, 2025




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